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                        IN THE UNITED STATES BANKRUPTCY COURT FOR
                              THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division

IN RE                                             )
                                                  )
NEAL A. AUGENSTEIN                                )       Case No. 12-15847-BFK
PAULA H. AUGENSTEIN                               )
     Debtors.                                     )       (Chapter 7)
                                                  )

             NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

         WILL THE CLERK OF THE COURT please note pursuant to Bankruptcy Rule 9010, the

appearance of Segan, Mason & Mason, P.C., as counsel for South Riding Proprietary, an unsecured

creditor; and

         WILL THE CLERK OF THE COURT pursuant to Bankruptcy Rule 2002(g), please ensure

that all notices given or required to be given in this case and all papers served or required to be

served in this case, be given to and served upon the undersigned at the following office address:

                            Aimée T. H. Kessler, Esquire
                            Segan, Mason & Mason, P.C.
                            7010 Little River Turnpike, Suite 270
                            Annandale, VA 22003

                                                  SOUTH RIDING PROPRIETARY
                                                  By Counsel

    /s/ Aimée T. H. Kessler
Aimée T. H. Kessler, VSB #44890
SEGAN, MASON & MASON, P.C.
7010 Little River Turnpike, Suite 270
Annandale, VA 22003
Counsel for South Riding Proprietary
Date:     October 10, 2012

Aimée T. H. Kessler, VSB #44890
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Attorney for Creditor
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                                        CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Notice of Appearance and Request for Service
of Papers was served via electronic noticing to:

Robert R. Weed, Esquire
Law Offices of Robert Weed
7900 Sudley Road, Suite 409
Manassas, VA 20109

Klinette K. Kindred, Chapter 7 Trustee
Tyler, Bartl, Ramsdell & Counts
300 N. Washington Street, Suite 22
Alexandria, VA 22314

this 10th day of October 2012.


                                                       /s/ Aimée T. H. Kessler
                                                      Aimée T. H. Kessler




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Attorney for Creditor
